                                  UNITED STATES DISTRICT COURT
                                 EASTERN DISTRICT OF WISCONSIN


RAFFEL SYSTEMS, LLC,

           Plaintiff,

        v.                                                                                Case No. 18-CV-1765

MAN WAH HOLDINGS LTD, INC.,
MAN WAH (USA) INC., and XYZ
COMPANIES 1-10,

          Defendants.


 DECISION AND ORDER ON PLAINTIFF’S MOTION FOR PARTIAL SUMMARY
     JUDGMENT, DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT,
   PLAINTIFF’S MOTION FOR PARTIAL JUDGMENT ON THE PLEADINGS,
  PLAINTIFF’S MOTION TO STRIKE, DEFENDANTS’ MOTION TO CONDUCT
   LIMITED DISCOVERY, DEFENDANTS’ DAUBERT MOTION, PLAINTIFF’S
       MOTION FOR SANCTIONS, AND VARIOUS MOTIONS TO SEAL



                                                      Table of Contents
Introduction .................................................................................................................................. 3
Background ................................................................................................................................... 4
Summary Judgment Standard ........................................................................................................ 6
Analysis ........................................................................................................................................ 7
   1. Utility Patent Infringement ..................................................................................................... 7
           1.1 Applicable Law ............................................................................................................ 7
           1.2 Summary of Arguments .............................................................................................. 10
           1.3 Removable Flange ...................................................................................................... 10
                      1.3.1 Literal Infringement ..................................................................................... 11
                      1.3.2 Infringement Under the Doctrine of Equivalents ........................................... 13
           1.4 Lighted Element Connected to Light Source ............................................................... 15
                      1.4.1 Literal Infringement ..................................................................................... 16
           1.5 Summary of Rulings on Utility Patent Infringement .................................................... 18
   2. False Marking ....................................................................................................................... 18



              Case 2:18-cv-01765-NJ Filed 11/05/21 Page 1 of 54 Document 361
    3. Trade Dress Claims............................................................................................................... 21
           3.1 Applicable Law .......................................................................................................... 21
           3.2 Trade Dress Infringement Claims ................................................................................ 23
                      3.2.1 Specificity .................................................................................................... 23
                      3.2.2 Distinctiveness ............................................................................................. 25
           3.3 Trade Dress Dilution .................................................................................................. 27
           3.4 Summary of Remaining Trade Dress Claims ............................................................... 28
    4. Whether the ‘986 Patent is Invalid Due to On-Sale Bar .......................................................... 29
    5. Declaratory Judgment Claims – Raffel’s Motion for Partial Judgment on the Pleadings ......... 29
           5.1 Applicable Law .......................................................................................................... 30
           5.2 Analysis...................................................................................................................... 31
    6. Design Patent Infringement................................................................................................... 35
           6.1 Applicable Law .......................................................................................................... 36
           6.2 Analysis...................................................................................................................... 37
    7. Breach of Contract Counterclaims and Motion to Conduct Limited Discovery ...................... 41
           7.1 Whether Raffel is Bound by the Supplier Contracts ..................................................... 42
           7.2 Validity of 2017 Agreement......................................................................................... 45
           7.3 Breach of the Agreements ........................................................................................... 46
                      7.3.1 Dispute Resolution Clause ........................................................................... 46
                      7.3.2 Exclusivity Clause ........................................................................................ 48
           7.4 Man Wah’s Motion to Conduct Limited Discovery ..................................................... 49
    8. Raffel’s Motion for Sanctions ................................................................................................ 50


Conclusion .................................................................................................................................. 52













                                                                       2



              Case 2:18-cv-01765-NJ Filed 11/05/21 Page 2 of 54 Document 361
                                       INTRODUCTION

       Raffel Systems, LLC alleges that it is the owner by assignment of all rights, titles, and

interests in five utility patents for lighted cup holders for seating arrangements1 and one design

patent for the ornamental design of the cup holders.2 Raffel brings fifteen causes of action

against Man Wah Holdings Ltd., Inc., Man Wah (USA) Inc., and XYZ Companies 1–10

(collectively “Man Wah”), including false marking, patent infringement, trade dress

infringement, and breach of contract. (Fourth Am. Compl., Docket # 108.) Man Wah brings

twenty-eight counterclaims against Raffel, alleging, among other causes of action, non-

infringement and invalidity/unenforceability of the patents at issue and breach of contract.

(Am. Answer and Counterclaims, Docket # 193.) The parties have filed cross-motions for

summary judgment. Raffel moves for summary judgment as to certain claims of the patents

at issue, including: (1) claims 1, 10, and 12 of the ‘293 Patent; (2) claims 1, 2, 3, 5, 8, and 10

of the ‘505 Patent; (3) claims 1, 2, 3, 5, 12, and 13 of the ‘882 Patent; and (4) claims 1, 2, 7, 8,

9, 10, and 11 of the ‘603 Patent. Raffel also moves for summary judgment on its false marking

claim under 35 U.S.C. § 292 and on Man Wah’s contract counterclaims. Man Wah moves

for summary judgment relating to Raffel’s claims for false marking, trade dress infringement,

and infringement of the patents at issue, as well as on certain damages theories put forth by

Raffel and certain declaratory judgment requests by Man Wah. For the reasons explained

below, both parties’ summary judgment motions are granted in part and denied in part.


                               
1
  U.S. Patent No. 8,973,882 (“the ‘882 Patent”); U.S. Patent No. 10,051,968 (“the ‘968 Patent”); U.S.
Patent No. 8,714,505 (“the ‘505 Patent”); U.S. Patent No. 7,766,293 (“the ‘293 Patent”); and U.S.
Patent. No. 10,299,603 (“the ‘603 Patent”).
2
  U.S. Patent No. D643,252 (“the ‘252 Patent”).
                                                 3



         Case 2:18-cv-01765-NJ Filed 11/05/21 Page 3 of 54 Document 361
                                       BACKGROUND

       Raffel is a manufacturing company with a range of products in the seating, bedding,

and industrial marketplaces, which competes in various seating, bedding, and industrial

markets, such as, for example, in the market for cup holders including, but not limited to,

Raffel’s Home Theatre and Integrated Cup Holder products (referred to herein as “Raffel’s

ICH Products”). (Plaintiff’s Proposed Findings of Fact (“PPFOF”) ¶ 4, Docket # 293 and

Def.’s Resp. to PPFOF (“Def.’s Resp.”) ¶ 4, Docket # 328.) Raffel sells silver cup holders that

it refers to as “CHB Products.” (Id.) Raffel’s investments during its time in the industry

involved the lighted cup holder for seating arrangements reflected in U.S. Patent No. 7, 766,

293 (“the ‘293 Patent”), U.S. Patent No. 8,714,505 (“the ‘505 Patent”), U.S. Patent No.

8,973,882 (“the ‘882 Patent”), and U.S. Patent No. 10,299,603 (“the ‘603 Patent”). Raffel is

the owner by assignment of the ‘293 patent, the ‘505 patent, the ‘882 patent, and the ‘603

patent (collectively, the “Asserted Patents-in-Suit”). (Id. ¶ 5.)

       Raffel’s relationship with Man Wah began in Spring 2015, when Man Wah requested

samples of Raffel’s integrated cup holder for use in its furniture samples. (Id. ¶ 7.) Raffel

provided the samples to Man Wah under the assumption that the samples would be used for

the August 2015 Las Vegas Furniture Market. (Id.) On August 18, 2015, Raffel contacted Guy

Ray, President of Man Wah USA, regarding the samples Raffel had sent to Man Wah to be

used in showroom furniture. (Id. ¶ 8.) The email stated: “I am sure you are not aware that

Raffel holds patents on this product and the cup holders used by Man Wah may be in violation

of one or more of these patents.” (Id.) Ray responded that: “I am not aware of any of this.

Please forward me the info of the items you provided, to whoms [sic] attention you shipped

                                                4



         Case 2:18-cv-01765-NJ Filed 11/05/21 Page 4 of 54 Document 361
to, where your product is manufactured and shipped from, and the cost for each. I will look

into and get back to you promptly.” (Id.) On August 19, 2015, Raffel sent pricing information

for its existing integrated cup holder with power recline, headrest, and light to Man Wah. (Id.

¶ 9.)

On October 16, 2015, Paul Stangl, President of Raffel, met with Ray in the Man Wah

showroom at the High Point Fall Furniture Market to “inform him of the Raffel patents on

the cup holder products and to discuss supplying Man Wah’s cup holder needs.” (Id. ¶ 10.)

While in the showroom, Stangl observed that Man Wah was displaying and offering for sale

furniture containing the eMoMo HX43 line of cup holders that Raffel believed infringed its

patents. (Id.) On October 31, 2017, Xiamen Raffel (a fully-owned subsidiary of Raffel)

forwarded pictures of black and silver cup holders to Man Wah. (Id. ¶ 11.) The pictures

attached to the October 31 email depicted U.S. Patent Nos. on each of the cup holders. (Id.)

On November 2, 2015, Man Wah requested additional samples of Raffel’s integrated cup

holders, which Raffel provided. (Id. ¶ 12.) Man Wah sent Raffel’s black cup holder to Chinese

companies such as Long Rui to allegedly manufacture “knock off” cup holders and in 2018,

Man Wah began sourcing the accused silver cup holders from the same alternative supplier

(Long Rui). (Id. ¶ 13.) Raffel alleges that Man Wah deliberately copied Raffel’s product in

order to find a lower cost provider for its proprietary cup holder. (Id. ¶ 15.)

        Man Wah manufactures a variety of styles of chairs and sofas under the “Cheers”

brand name, and Raffel alleges that some of these chairs and sofas include Accused Cup

Holder Products and that Man Wah offered to sell, sold, and imported the sofas and chairs

into the United States. (Id. ¶ 17.) Man Wah initially represented that it purchased

                                                5



         Case 2:18-cv-01765-NJ Filed 11/05/21 Page 5 of 54 Document 361
approximately 46,203 units of the accused cup holders from December 2017 to November of

2018 and shipped about 44,579 pieces of furniture with the accused or Raffel cup holders to

138 different customers in the United States. (Id. ¶ 18.) In a confidential March 27, 2019

internal Man Wah email, Man Wah provided a “tutorial” with a side-by-side picture to enable

Man Wah employees to identify a Long Rui accused black cup holder from a Raffel cup black

cup holder—“[i]f there are characters inside the cupholder, it’s Raffel’s cupholder.” (Id. ¶ 22.)

                          SUMMARY JUDGMENT STANDARD

       Both parties move for summary judgment in their favor on various claims. Pursuant

to Fed. R. Civ. P. 56(a), a party can seek summary judgment upon all or any part of a claim

or defense asserted. The court shall grant summary judgment if the movant shows that there

is no genuine dispute as to any material fact and the movant is entitled to judgment as a matter

of law. Fed. R. Civ. P. 56(a); see also Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986);

Celotex Corp. v. Catrett, 477 U.S. 317, 324 (1986). “Material facts” are those under the

applicable substantive law that “might affect the outcome of the suit.” See Anderson, 477 U.S.

at 248. The mere existence of some factual dispute does not defeat a summary judgment

motion. A dispute over a “material fact” is “genuine” if “the evidence is such that a reasonable

jury could return a verdict for the nonmoving party.” Id.

       In evaluating a motion for summary judgment, the court must draw all inferences in a

light most favorable to the nonmovant. Matsushita Elec. Indus. Co., Ltd. v. Zenith Radio Corp.,

475 U.S. 574, 587 (1986). However, when the nonmovant is the party with the ultimate

burden of proof at trial, that party retains its burden of producing evidence which would

support a reasonable jury verdict. Celotex Corp., 477 U.S. at 324. Evidence relied upon must

                                                6



         Case 2:18-cv-01765-NJ Filed 11/05/21 Page 6 of 54 Document 361
be of a type that would be admissible at trial. See Gunville v. Walker, 583 F.3d 979, 985 (7th

Cir. 2009). To survive summary judgment, a party cannot rely on his pleadings and “must set

forth specific facts showing that there is a genuine issue for trial.” Anderson, 477 U.S. at 248.

“In short, ‘summary judgment is appropriate if, on the record as a whole, a rational trier of

fact could not find for the non-moving party.’” Durkin v. Equifax Check Services, Inc., 406 F.3d

410, 414 (7th Cir. 2005) (citing Turner v. J.V.D.B. & Assoc., Inc., 330 F.3d 991, 994 (7th Cir.

2003)).

          When both parties move for summary judgment in their favor on the same issue, “the

court must consider the evidence through two different lenses.” Lessley v. City of Madison, Ind.,

654 F. Supp. 2d 877, 890 (S.D. Ind. 2009). Specifically, “[w]hen considering defendants’

motion[ ], the court gives plaintiffs the benefit of conflicts in the evidence and favorable

inferences. When considering plaintiffs’ motion[ ], defendants receive those benefits.” Id.

                                               ANALYSIS

          1.     Utility Patent Infringement

                 1.1     Applicable Law

          A patent includes two basic parts: a written description of the invention and the patent

claims. The “claims” of a patent are the numbered sentences at the end of the patent that

describe what the patent owner may prevent others from doing. See Pattern Civil Fed. Jury

Instructions for the Seventh Cir. § 11.2.4 (2008). The “claims” of a patent “define the metes

and bounds of the invention entitled to protection by the patent.” Black & Decker (U.S.), Inc. v.

Home Prod. Mktg., Inc., 929 F. Supp. 1114, 1118–19 (N.D. Ill. 1996). Patents typically contain

both independent and dependent claims. An independent claim stands on its own and does

                                                  7



           Case 2:18-cv-01765-NJ Filed 11/05/21 Page 7 of 54 Document 361
not refer to any other claim; therefore, it is read separately when determining its scope. Id. A

dependent claim references at least one other claim and incorporates the elements of the

claims to which it refers. Id. Claims describe the invention by a series of limiting words or

phrases called “limitations.” Id.

           Federal law prohibits one, without authority, from making, using, offering to sell, or

selling any patented invention within the United States or imported into the United States. 35

U.S.C. § 271(a). In determining patent infringement, the “essential inquiry” is this: “Does the

accused product or process contain elements identical or equivalent to each claimed element

of the patented invention?” Warner-Jenkinson Co. v. Hilton Davis Chem. Co., 520 U.S. 17, 40

(1997); see also Gart v. Logitech, Inc., 254 F.3d 1334, 1339 (Fed. Cir. 2001) (“‘In order for a

court to find infringement, the plaintiff must show the presence of every . . . [limitation] or its

substantial equivalent in the accused device.’”) (quoting Wolverine World Wide, Inc. v. Nike,

Inc., 38 F.3d 1192, 1199 (Fed. Cir. 1994)). Ultimately, to establish that an accused device

infringes a patent, the plaintiff must show that every limitation set forth in a disputed claim

or claims is found in the accused device exactly or by a substantial equivalent. Black & Decker

(U.S.), Inc., 929 F. Supp. at 1119.

            To resolve this question, the Federal Circuit has established a two-step analysis. Cybor

Corp. v. FAS Techs., Inc., 138 F.3d 1448, 1454 (Fed. Cir. 1998). First, the court determines the

scope and meaning of the patent claims asserted, 3 and second, the properly construed claims

are compared to the allegedly infringing device. Id. The determination of infringement,

whether literal or under the doctrine of equivalents, is a question of fact. Gart, 254 F.3d at

                                     
3
    The Court’s Decision and Order on Claims Construction was entered on June 15, 2020. (See Docket # 190.)
                                                          8



             Case 2:18-cv-01765-NJ Filed 11/05/21 Page 8 of 54 Document 361
1339. An infringement issue is properly decided upon summary judgment when no reasonable

jury could find that every limitation recited in the properly construed claim either is or is not

found in the accused device either literally or under the doctrine of equivalents. Id. If any

claim limitation is absent from the accused device, there is no literal infringement as a matter

of law. Amgen Inc. v. F. Hoffman-La Roche Ltd, 580 F.3d 1340, 1374 (Fed. Cir. 2009). Under

the doctrine of equivalents, “a product or process that does not literally infringe upon the

express terms of a patent claim may nonetheless be found to infringe if there is ‘equivalence’

between the elements of the accused product or process and the claimed elements of the

patented invention.” Carnegie Mellon Univ. v. Hoffmann-La Roche Inc., 541 F.3d 1115, 1129

(Fed. Cir. 2008). However, if the accused product is missing an equivalent element to even

one limitation recited in the asserted patent claim, it cannot infringe the claim under the

doctrine of equivalents. AquaTex Indus., Inc. v. Techniche Solutions, 419 F.3d 1374, 1382 (Fed.

Cir. 2005).

       Because dependent claims reference at least one other claim and incorporate the

elements of the claims to which it refers, and because a claim is not infringed unless all

limitations in the claim are found in the accused product, a finding of non-infringement of an

independent claim necessarily means that a claim of infringement of the dependent claim

fails. See Wahpeton Canvas Co. v. Frontier, Inc., 870 F.2d 1546, 1553 (Fed. Cir. 1989) (“It is

axiomatic that dependent claims cannot be found infringed unless the claims from which they

depend have been found to have been infringed.”); MOAEC, Inc. v. Pandora Media, Inc., 607 F.

Supp. 2d 980, 997 (W.D. Wis. 2009) (“Because claims 6 and 7 are dependent from claim 1, a

device cannot infringe claims 6 or 7 if it does not infringe claim 1.”).

                                                9



         Case 2:18-cv-01765-NJ Filed 11/05/21 Page 9 of 54 Document 361
                 1.2      Summary of Arguments

        Both parties move for summary judgment in their favor as to certain claims in each of

Raffel’s five utility patents. Man Wah only challenges two specific claim limitations: (1) the

flange on each of the accused products is removable and (2) the lighted element in each of the

accused products is “attached” to the light source. Man Wah groups these into the “A” claims

(the flange) and the “B” claims (the “attached” lighted element). Man Wah asserts that the

“A” claims include: Claim 12 of the ’293 Patent; Claims 1, 2, 3, 5, 8, 10 of the ’505 Patent;

Claims 1, 2, 3, 5, 12, 13 of the ’882 Patent; Claims 9, 10, 11, 13 of the ’968 Patent; and Claims

1, 2, 7, 8, 9, 10, 11, 16 of the ’603 Patent. The “B” claims include: Claims 1, 10, 12 of the ’293

Patent. (Defs.’ Br. in Supp. of Summ. Judg. at 18, Docket # 295-2.) Man Wah argues that

every claim in Group A includes the requirement of a “flange” and every claim in Group B

includes the requirement of an elongated lighted element that is “attached” to the light source.

(Id. at 18–19.) I will address each challenged limitation in turn. 4

                 1.3      Removable Flange

        During the claim construction phase of this litigation, the parties disputed the meaning

of the term “flange.” Raffel contended that “flange” was construed according to its plain and

ordinary meaning, which it argued included both removable and non-removable flanges.

(Docket # 190 at 13.) Man Wah, on the other hand, argued that “flange” was limited to non-

                                   
4
  Raffel argues that because Man Wah only challenges two limitations of the asserted claims it has conceded
that the other limitations of the asserted claims are met by the accused products. (Pl.’s Reply Br. at 2, Docket #
336.) I agree. Because Man Wah did not challenge the other limitations of the asserted claims, it cannot later
challenge Raffel’s claims of infringement based on requirements not challenged on summary judgment. Also,
although neither party specifically moves on independent claim 6 of the ‘293 Patent (and its dependent claims
7, 8, and 9), this claim also contains a limitation for “a lighted element including an elongated member of
translucent material having the light source attached thereto to be illuminated thereby” (‘293 Patent col.8 6.27–
29) and thus will also be addressed herein.
                                                       10



          Case 2:18-cv-01765-NJ Filed 11/05/21 Page 10 of 54 Document 361
removable flanges. (Id.) I determined that the prosecution history, coupled with the drawings

and specifications, supported construing “flange” as “non-removable, attached to the cup

holder body as a single unit.” (Id. at 18.)

                              1.3.1      Literal Infringement

       Man Wah argues that the group “A” claims all require a “flange,” which has been

construed by the Court as “non-removable, attached to the cup holder body as a single unit.”

It argues that the accused cup holders do not contain the “flange” requirement because the

flange on the accused products are removable.

       The crux of Raffel’s argument is that the flange on the accused cup holders is only

removable through destructive means. (Pl.’s Br. in Supp. of Partial Summ. Judg. at 5–9,

Docket # 292-1.) Raffel argues that Man Wah’s expert, Steven Ricca, was only able to

physically separate the flange from the accused cup holder body through destructive testing

and force. (Id.) Man Wah counters that because the flange of the accused cup holder is joined

to the cup holder body by screws (which are by their nature removable), the flange is

removable. (Defs.’ Br. in Opp. at 3–7, Docket # 326.) Thus, Man Wah argues that Raffel’s

infringement claims fail because there is no evidence that any flange on the accused cup

holders is non-removable, attached to the cup holder body as a single unit. (Id.)

       Although the parties seemingly dispute the meaning of the word “non-removable,”

there is no great mystery in the definition. Just about anything can be “removed” with the

exertion of enough brute force, but clearly if an object needs to be physically destroyed in

order to “remove” a part, the part is not “removable” in the ordinary sense of the word. See

K-2 Corp. v. Salomon S.A., 191 F.3d 1356, 1365 (Fed. Cir. 1999) (“Screws, unlike rivets and

                                               11



        Case 2:18-cv-01765-NJ Filed 11/05/21 Page 11 of 54 Document 361
laminates, are meant to be unscrewed, that is, to be removed. A rivet or a laminate, to the

contrary, is meant to remain permanent, unremovable unless one is bent on breaking the

permanent structure apart.”); see also Little Giant Pump Co. v. Diversitech Corp., 505 F. Supp. 2d

1107, 1111 (W.D. Okla. 2007) (“The common, ordinary meaning of removable or removably,

however, does not include breaking what is meant to be a permanent connection.”).

       Turning to the record evidence, Man Wah relies principally on the opinion of its

expert, Steven Ricca, who opined that the flange on the accused cup holders are removable

because the flange is a separate part that is fastened to the cup holder body by a couple of

screws and can be easily disassembled with a screw driver. (Declaration of Clark Bakewell ¶

6, Ex. 1, Rebuttal Expert Report of Steven Ricca, dated August 28, 2020, Docket # 303-1 at

¶ 42.) Raffel’s primary counter to Ricca’s expert report is its own expert report by Ronald

Kemnitzer, who opined that the flange of the accused products is “non-removable and

attached to the cup holder as a single body.” (Bakewell Decl. ¶ 13, Ex. 8, Expert Report of

Professor Ronald B. Kemnitzer, dated July 22, 2020, Docket # 303-8.) Raffel also argues that

the flange of the accused product is not removable because Ricca needed to use tools to

remove hot glue and screws. (Pl.’s Br. in Supp. of Summ. Judg. at 7–8.) Raffel argues that

because Ricca “removed hot glue, this is not something that could be simply reassembled

such as a screw top that can be screwed on and off.” (Id. at 8.) Raffel further argues that Ricca

testified that once he disassembled the cup holder, it could not be reassembled without special

training and the purchase of new parts. (Id. at 8–9.)

       Raffel misconstrues Ricca’s testimony. Ricca clearly testified that the purpose of the

hot glue was “strain relief to keep the wires from moving” (Declaration of John C. Scheller ¶

                                               12



        Case 2:18-cv-01765-NJ Filed 11/05/21 Page 12 of 54 Document 361
1, Ex. 1, September 29, 2020 deposition of Steven Ricca at 39, Docket # 281-1), and that the

hot glue connected the wire to the circuit board for the button control (id. at 60). In his expert

report, Ricca states that the flange of the accused cup holder is fastened to the cup holder body

by a couple of screws and can be easily disassembled with a regular screw driver. (Ricca

Rebuttal Expert Report at ¶ 63.) The photograph shows the flange removed from the body of

the cup holder, without destruction of either piece. (Id.) Because the flange of the accused

product is removable while Raffel’s flange is not, the accused product does not literally

infringe Raffel’s patent.

                      1.3.2 Infringement Under the Doctrine of Equivalents

       My analysis, however, does not end there. I must next address whether the accused

products infringe under the doctrine of equivalents. Under the doctrine of equivalents, “a

product or process that does not literally infringe upon the express terms of a patent claim

may nonetheless be found to infringe if there is ‘equivalence’ between the elements of the

accused product or process and the claimed elements of the patented invention.”

Bondyopadhyay v. United States, 136 Fed. Cl. 114, 122–23, aff’d, 748 F. App’x 301 (Fed. Cir.

2018). In Warner–Jenkinson Co., the Supreme Court identified two possible approaches to

analyze whether there is equivalence: the “insubstantial differences” approach and the “triple

identity test.” 520 U.S. at 39. The “insubstantial differences” test looks to whether the element

asserted to be an equivalent in the accused device is insubstantially different from the claimed

element. Id. Under the “insubstantial differences” approach, courts have noted that a

“fundamental difference between the accused systems and the claimed invention that goes to

the heart of the claimed invention” may preclude a finding of equivalence. Tech. Patents LLC

                                               13



        Case 2:18-cv-01765-NJ Filed 11/05/21 Page 13 of 54 Document 361
v. T–Mobile (UK) Ltd., 700 F.3d 482, 500 (Fed. Cir. 2012). The “triple identity test” focuses

on: (1) the function served by a particular claim element; (2) the way that element serves that

function; and (3) the result thus obtained by that element. Warner–Jenkinson Co., 520 U.S. at

39.

       Raffel relies on the opinion of its expert, Kemnitzer, that the flange of the accused

product infringes under the doctrine of equivalents. (Kemnitzer Expert Report at ¶¶ 30, 32.)

But Kemnitzer does nothing more than make conclusory statements that the difference

between the two flanges is insubstantial and that the flange of the accused product would meet

the function-way-result test. (Id.) Man Wah’s expert, on the other hand, specifically opines

that the structural difference between a removable and non-removable flange is functionally

significant:

       In my opinion, the structural differences between Man Wah’s removable flange
       and a non-removable flange are substantial. Having a removable and
       interchangeable flange allows manufacturers or users to customize the look of
       the cup holder to better fit with the exterior of the seating unit, without
       compromising the cup holder body structure. Manufacturers or users may
       choose to have a flange made of different materials or colors. Additionally, the
       removable flange element in the Accused ICH Products provides more
       flexibilities such as different types of control switches, different button symbols
       or functions, and dimpled switches. It is much easier and cheaper to
       manufacture such a flange including dimpled switches as a separate piece,
       without the cup holder body, and thus this is a substantially different solution
       and result than claimed by the Asserted Flange Claims.

(Ricca Expert Report ¶ 52.) I find that the flange of the accused cup holders does not infringe

Raffel’s patent under the doctrine of equivalents. The record evidence shows that the flange

of the accused cup holder serves a significantly different purpose than the flange of Raffel’s

cup holders. While Raffel’s flange simply serves as a place for the controls, the accused cup

holder’s removable flange allows for interchangeability and customization. As such, the
                                           14



        Case 2:18-cv-01765-NJ Filed 11/05/21 Page 14 of 54 Document 361
flange of the accused cup holder is substantially different from that of Raffel’s. Furthermore,

the two flanges do not perform the same function, in the same way, to achieve the same result;

thus, the accused cup holders do not infringe under the triple identity test.5

        Thus, because the “flange” element is not infringed by the accused cup holders,

Raffel’s claims for infringement as to independent claims 1 and 8 (and their dependent claims)

of the ‘505 Patent; independent claim 1 (and its dependent claims) of the ‘882 Patent;

independent claims 1 and 10 (and their dependent claims) of the ‘603 Patent; and independent

claim 9 (and its dependent claims) of the ‘968 Patent fail as a matter of law. Man Wah’s

counterclaims for non-infringement of these claims are granted.

                 1.4      Lighted Element Connected to Light Source

        Independent claims 1 and 6 of the ‘293 Patent contain the requirement of an elongated

lighted element that is “attached” to the light source. In Figure 3 of the ‘293 Patent, 120

represents a light producing light source and 122 represents the lighted element. (‘293 Patent

col.4 l.61–67.) Man Wah argues that the accused products do not infringe claim 1 of the ‘293

Patent because the claim requires a lighted element that comprises an elongated member of

translucent material having the light source attached thereto; while the two variants of the

accused products each have a lighted element that is physically separate from the light source,

rather than being fastened or joined to the light source. (Defs.’ Br. in Opp at 20–21.) Raffel




                                  
5
  On April 23, 2021, Man Wah submitted a video allegedly showing Ricca disassembling a cupholder,
purportedly to demonstrate that the accused cupholders were “easily reassembled.” (Pl.’s Mot. to Strike at 1,
Docket # 338-1.) Raffel moved to strike this video evidence and all arguments Man Wah made relying on it in
opposition to Raffel’s motion for partial summary judgment. (Id.) Because I did not find it necessary to consider
this video in deciding the infringement issue, Raffel’s motion to strike (Docket # 338) is denied as moot.
                                                       15



         Case 2:18-cv-01765-NJ Filed 11/05/21 Page 15 of 54 Document 361
counters that the light source of the accused products is connected to the lighted element.

(Pl.’s Reply Br. in Supp. of Summ. Judg. at 8–10, Docket # 336.)

                      1.4.1 Literal Infringement

       The parties dispute whether the light source of Man Wah’s accused products is

“attached” to the lighted element. A photograph of the accused product is shown below (with

annotations from Ricca) allegedly demonstrating that the lighted element is not attached to

the light source.




(PPFOF ¶ 84 and Defs.’ Resp. ¶ 84.) Ricca opined that the accused cupholders do not have

an attached lighted element because the lighted element (as labeled above) is separated from

the light source (under the plastic cover) by a gap of approximately 7 mm in width. (Ricca

Expert Report at ¶ 53.) Raffel counters that Ricca testified, however, that the light source is

connected to the light element in one of two ways. First, by double-sided tape attached to the

bottom of the circuit board and then attached to the little pocket of the cup holder (Ricca Dep.

at 81) or second, by “a little plastic, translucent cap that just kind of got jammed up there, and

everything was just touching in close proximity by being trapped in there when it was

assembled” (id. at 46–47).

                                               16



        Case 2:18-cv-01765-NJ Filed 11/05/21 Page 16 of 54 Document 361
       Although Raffel disputes that a gap exists between the lighted element and the light

source in the accused cupholder, even assuming no direct contact, the accused cupholder

literally infringes Raffel’s patent. Considering again Figure 3 of the ‘293 Patent, the “lighted

element” (122) is “operatively connected” to the light source (120) in order to receive light

from the light source and illuminate the receptacle. The use of the term “operatively

connected” is important. The word “operative,” when used as an adjective, can mean

“exerting force or influence.” Merriam-Webster Online Dictionary. Thus, the “connection”

between the lighted element and the light source is one in which the light source exerts “force

or influence” over the lighted element—specifically, by receiving light from the light source

to illuminate the receptacle. The claim further states that the light source is “attached” to the

lighted element. “[T]he ordinary meaning of ‘attached’ includes both direct and indirect

attachment.” Southco, Inc. v. Fivetech Tech. Inc., 611 F. App’x 681, 686 (Fed. Cir. 2015). Given

the patent’s use of both “attached” and “operatively connected,” it is clear the nature of the

attachment is one of which the light source exerts influence over the lighted element, i.e., by

causing it to illuminate the receptacle. It does not mean that the light source needs to be

physically touching the lighted element.

       Thus, the alleged 7 mm gap between the lighted element—which, like Raffel’s, is an

“elongated member of translucent material”—and the light source does not save the accused

product. The light source of the accused product, though encapsulated in plastic, is “attached”

to the lighted element in that it also causes the lighted element to illuminate the receptacle.

Thus, I find that the requirement of a light source “attached” to the light element is found in

Man Wah’s accused product. Recall, though, to find infringement, an accused product must

                                               17



        Case 2:18-cv-01765-NJ Filed 11/05/21 Page 17 of 54 Document 361
contain all claimed limitations. See Amgen Inc., 580 F.3d at 1374. Independent claims 1 and 6

contain the “attached” requirement, but not the flange requirement (which is added in

dependent claims 10 and 12.) Because I found the “flange” was not found in the accused

products, Man Wah’s cup holders do not infringe claims 10 and 12 of the ‘293 Patent because

the accused products are missing an element of the claim (i.e., the “flange.”). However,

because independent claims 1 and 6 do not contain the “flange” requirement and I find the

accused products infringe the contested “attached” requirement, I will grant summary

judgment in Raffel’s favor as to its infringement claim on claims 1 and 6 of the ‘293 Patent.

                1.5     Summary of Rulings on Utility Patent Infringement

        Summary judgment is granted in favor of Man Wah on all of Raffel’s patent

infringement claims except for Raffel’s claim of infringement as to claims 1 and 6 of the ‘293

Patent.6 Summary judgment is granted in Raffel’s favor as to claims 1 and 6 of the ‘293

Patent.7

        2.      False Marking

        Raffel alleges a false marking claim under 35 U.S.C. § 292 when Man Wah allegedly

marked their accused products with Raffel’s patent numbers, labels, and inspection stickers

in an attempt to deceive the public into believing that the accused products either belonged to

Raffel or were sold with Raffel’s consent. (Fourth Am. Compl., Claim 1, ¶¶ 138–47.) The

Patent Act prohibits the “mark[ing] upon, or affix[ing] to, or us[ing] in advertising in

                                
6
  Man Wah also counterclaimed for declaratory judgment that the ‘293 Patent did not infringe Man Wah’s ICH-
type cup holders. (Counterclaim I, Docket # 193.) Given my ruling on Raffel’s summary judgment motion
regarding the ‘293 Patent, Man Wah’s Counterclaim I is denied.
7
  Man Wah also moves to exclude the expert opinion of Richard Conroy regarding damages for the alleged
infringement of the ‘603 Patent and the ‘968 Patent. (Docket # 297.) Given my finding of non-infringement,
the Daubert motion is denied as moot.
                                                    18



           Case 2:18-cv-01765-NJ Filed 11/05/21 Page 18 of 54 Document 361
connection with” any article, the “name or any imitation of the name of the patentee, the

patent number, or the words ‘patent,’ ‘patentee,’ or the like, with the intent of counterfeiting

or imitating the mark of the patentee, or of deceiving the public and inducing them to believe

that the thing was made, offered for sale, sold, or imported into the United States by or with

the consent of the patentee.” 35 U.S.C. § 292(a).8 In order to sue under the false marking

statute, a plaintiff must have “suffered a competitive injury as a result of a violation” of the

marking statute. Id. § 292(b). A “competitive injury” is defined as:

         “[a] wrongful economic loss caused by a commercial rival, such as the loss of
        sales due to unfair competition; a disadvantage in a plaintiff’s ability to compete
        with a defendant, caused by the defendant’s unfair competition.” Sukumar v.
        Nautilus, Inc., 785 F.3d 1396, 1400 (Fed. Cir. 2015) (alteration in original)
        (quoting Competitive Injury, Black’s Law Dictionary (9th ed. 2009)). In the
        false-marking context, the injury must be one inflicted on a firm’s competitive
        activity, caused by the false marking. Id. at 1402; see id. at 1400 n.3.

Gravelle v. Kaba Ilco Corp., 684 F. App’x 974, 978 (Fed. Cir. 2017). Man Wah argues that

Raffel’s false marketing claim fails because Raffel has not suffered any competitive injury as

a result of Man Wah’s actions and even if it has, it has failed to show a causal link between

the competitive injury and the alleged false marking (Defs.’ Br. in Opp. at 11–15; Defs.’ Reply

Br. in Supp. at 1–3), and because Man Wah did not intend to deceive the public (Defs.’ Br. in

Opp. at 11–15).

        I find Raffel has put forth sufficient evidence of its false marking claim to take the issue

to a jury. As to Man Wah’s intent to deceive, it is undisputed that at least some of the accused



                                  
8
  Man Wah seeks summary judgment in its favor to the extent Raffel seeks statutory damages under § 292(a).
(Man Wah’s Reply Br. in Supp. of Summ. Judg. at 1, Docket # 341-1.) Section 292(a) clearly states that “[o]nly
the United States may sue for the penalty authorized by this subsection.” Thus, Raffel cannot request statutory
relief under § 292(a). (See Fourth Am. Compl. at ¶ 147.)
                                                      19



         Case 2:18-cv-01765-NJ Filed 11/05/21 Page 19 of 54 Document 361
cup holders bore a label identifying Raffel’s patent numbers. (See PPFOF ¶¶ 32–39 and Defs.’

Resp. ¶¶ 32–39.) Raffel has put forth evidence that it was contacted by multiple vendors

regarding defective cup holders that were actually manufactured by Man Wah. (PPFOF ¶ 30–

31.) While Man Wah asserts that the stickers on the cup holders were embedded in the

furniture and thus were not visible to the public (and thus could not deceive them) (Defs.’ Br.

in Opp. at 12–15), and denies that it instructed any of its manufacturers to mark the accused

cup holders with Raffel’s patent numbers (Defs.’ Resp. to PPFOF ¶¶ 35–39), a reasonable jury

could conclude that Man Wah placed Raffel’s patent numbers on the accused cup holders

with the intent to deceive the public into believing that the accused products either belonged

to Raffel or were sold with Raffel’s consent.

        As to the alleged damages, Raffel has presented sufficient evidence in the form of the

report of its damages expert, Richard Conroy, for the claim to survive summary judgment.

(Pl.’s Br. in Opp at 2, Docket # 319-1.)9 Conroy opines that Raffel lost profits in the amount

of $360,381.00 “due to Man Wah’s infringement and false marking of the accused black cup

holders.” (Declaration of Clark Bakewell in Supp. of Defs.’ Mot. for Summ. Judg. ¶ 3, Ex. 2,

July 22, 2020 Expert Report of Richard M. Conroy at ¶ 167–72 and Tab. 12, Docket # 299-

2.)10 While Man Wah argues Conroy’s report lacks a causal link between the false marking

and the lost profit damages (Defs.’ Reply Br. at 3), I disagree. Conroy states that his report

quantifies Raffel’s lost profit due to Man Wah’s false marking. (Conroy Expert Report at Tab.


                                  
9
  Man Wah moves to exclude Conroy’s expert opinions regarding damages for infringement of the ‘603 Patent
and the ‘968 Patent. (Docket # 297.) Man Wah’s motion, however, does not specifically relate to Conroy’s
opinion regarding damages for false marking.
10
   Conroy also calculates an award of statutory damages in his expert report. (See Conroy Expert Report at ¶ 171
and Tab. 12.) Again, Raffel is not entitled to statutory damages under § 292(a).
                                                      20



         Case 2:18-cv-01765-NJ Filed 11/05/21 Page 20 of 54 Document 361
12.) A jury can determine whether to accept Raffel’s evidence of a causal connection. As such,

both parties’ motions for summary judgment are denied as to Raffel’s false marking claim.

        3.       Trade Dress Claims

        Raffel has alleged multiple claims predicated on a finding of trade dress infringement

relating to the ICH cup holders. See Claim III (trade dress infringement), Claim IV (unfair

competition predicated on trade dress infringement), Claim V (trade dress dilution), Claim

VII (common law misappropriation predicated on trade dress infringement), and Claim VIII

(unjust enrichment predicated on trade dress infringement).11 Man Wah argues that Raffel

cannot meet its burden to show trade dress infringement; thus, summary judgment should be

granted in its favor as to claim three, and as to the three claims predicated on claim three—

claims four, seven, and eight. (Defs.’ Br. in Supp. of Summ. Judg. at 5–12, Docket # 195-2.)

As to these claims, Man Wah argues that Raffel’s alleged trade dress lacks distinctiveness and

sufficient definition. (Id. at 5.) As to Raffel’s claim five, trade dress dilution, Man Wah argues

that this claim fails because Raffel’s trade dress is not famous.

                 3.1      Applicable Law

        “The ‘trade dress’ of a product is essentially its total image and overall appearance.”

Two Pesos, Inc. v. Taco Cabana, Inc., 505 U.S. 763, 765 n.1 (1992) (internal citation and

quotation omitted). “It . . . may include features such as size, shape, color or color

combinations, texture, graphics, or even particular sales techniques.” Id. In trade dress


                                   
11
  Man Wah also moves for summary judgment that Raffel is not entitled to statutory damages under 15 U.S.C.
§ 1117(c) for alleged trade dress infringement. (Defs.’ Br. in Supp. of Summ. Judg. at 4–5, Docket # 195-2.)
Raffel states that although its damages expert calculated statutory damages for this claim, Raffel is not pursuing
statutory damages for trade dress infringement. (Pl.’s Br. in Opp. at 4, Docket # 319-1.) Thus, Man Wah’s
motion for summary judgment as to Raffel’s claim for statutory damages is granted.
                                                       21



          Case 2:18-cv-01765-NJ Filed 11/05/21 Page 21 of 54 Document 361
actions, a plaintiff must “articulate the specific elements which comprise its distinctive dress

. . . This enhanced burden is meant to avoid exceedingly general claims that seek coverage for

something that is unprotectable.” Forest River, Inc. v. Winnebago Indus., Inc., No. 3:15-CV-609

RLM-MGG, 2017 WL 590245, at *2 (N.D. Ind. Feb. 14, 2017) (internal quotations and

citations omitted). Then, to prevail on a claim of trade dress infringement, a plaintiff must

show that (1) its trade dress is either inherently distinctive or has acquired secondary meaning,

and (2) that the similarity of the defendant’s trade dress causes a likelihood of confusion on

the part of consumers as to the source or affiliation of the products. Thomas & Betts Corp. v.

Panduit Corp., 138 F.3d 277, 291 (7th Cir. 1998). If the plaintiff successfully establishes these

elements, the defendant can prevail if the defendant demonstrates that the plaintiff’s trade

dress is functional. Id.

       Federal law also provides an avenue for relief for owners of a “famous mark,” allowing

damages for the dilution of the mark regardless of the presence or absence of actual or likely

confusion, competition, or actual economic injury. 15 U.S.C. § 1125(c)(1). A mark is famous

under the statute if “it is widely recognized by the general consuming public of the United

States as a designation of source of the goods or services of the mark’s owner.” Id. §

1125(c)(2)(A). A “famous mark” is one that has become a “household name.” Coach Servs.,

Inc. v. Triumph Learning LLC, 668 F.3d 1356, 1373 (Fed. Cir. 2012). I will address each

argument in turn.




                                               22



        Case 2:18-cv-01765-NJ Filed 11/05/21 Page 22 of 54 Document 361
              3.2      Trade Dress Infringement Claims (Raffel’s Claims Three, Four, Seven,
                       and Eight)

       As stated above, Man Wah challenges Raffel’s trade dress claims as lacking specificity

and distinctiveness.

                       3.2.1 Specificity

       In April 2019, Man Wah moved for judgment on the pleadings as to Raffel’s trade

dress infringement claim, arguing that Raffel’s amended complaint failed to specify precisely

what it believes makes its products entitled to trade dress protection, instead, simply listing a

few model numbers for its products with no details showing what about the products entitled

them to trade dress protection. (Docket # 67.) On May 22, 2019, Magistrate Judge David E.

Jones denied Man Wah’s motion without prejudice and allowed Raffel to file a second

amended complaint. (Docket # 74.) Man Wah argues that Raffel has failed, through

submission of expert reports, to adequately define its alleged trade dress and thus Raffel’s

trade dress claims fail. (Docket # 295-2.) Man Wah argues that Raffel’s expert, Kemnitzer,

lists various elements of the ICH cup holder, stating that each could be considered trade dress,

thus creating “31 potential trade dress definitions” impossible to lock down. (Defs.’ Proposed

Findings of Fact ¶¶ 11–12, Docket # 295-3.)

       Man Wah relies principally on the district court’s decision in Forest River, Inc. in

support of its argument. In Forest River, Inc., the court addressed whether a trade dress claim

contained sufficient specificity at the motion to dismiss stage. The trade dress at issue was

plaintiff’s “RPOD” travel trailer and defendant Winnebago’s “DROP” travel trailer. 2017

WL 590245, at *1. The factual allegations related to plaintiff’s trade dress claims were as

follows: “Forest River’s trade dress is defined to include, ‘the size, shape and color of the
                                              23



        Case 2:18-cv-01765-NJ Filed 11/05/21 Page 23 of 54 Document 361
travel trailers’ sold under the trademark ‘RPOD,’ including ‘the exterior shape, the total visual

image, the interior layout, interior fabric patterns and colors, and model numbers.’” Id. at *2.

The complaint further pled that plaintiff’s trade dress had “‘distinctive characteristics,

including features such as size, shape, and color’ that are used by consumers ‘to identify and

distinguish [Forest River’s travel trailers] from products offered by other companies.’” Id. The

court found plaintiff’s complaint insufficient because trade dress must be identified and

described in some detail and the terms employed by plaintiff in the definition of its trade

dress—“unique,” “distinct,” “decorative”—said nothing about the “size, shape, and color”

of the RPOD travel trailers. Id. The court found that the “‘the discrete elements which make

up that combination should be separated out and identified in a list.’” Id. (quoting Abercrombie

& Fitch Stores, Inc. v. Am. Eagle Outfitters, Inc., 280 F.3d 619, 634 (6th Cir. 2002)).

       I find that Raffel has articulated its alleged trade dress with sufficient specificity. In

Kemnitzer’s expert report, he describes Raffel’s trade dress as consisting of several specific

elements making its trade dress unique:

           x   the silver color of the interior and exterior of the cup holder in combination
               with the black color of the rim at the top of the cup holder;
           x   the elongated C-shaped extension of the rim that is approximately one-third the
               circumference of the rim and approximately double the width of the rim at the
               location of the C-shaped extension;
           x   five circular dimples evenly spaced within the elongated C-shaped extension of
               the rim;
           x   icons within the dimples; and
           x   labels on the bottom exterior portion of the cup holder that are of a specific
               design, shape, position, size and color that include text of a certain font, color
               and size that include model number, purchase order and date codes, and U.S.
               Patent Numbers.




                                                 24



        Case 2:18-cv-01765-NJ Filed 11/05/21 Page 24 of 54 Document 361
(Kemnitzer Expert Report at ¶ 101.) This is a far cry from the articulation of “trade dress” in

Forest River, Inc. as “distinctive characteristics” such as “color.” Rather, Raffel’s expert

specifically describes the elements that make Raffel’s alleged trade dress unique. Thus, Man

Wah is not entitled to summary judgment as to this aspect of Raffel’s trade dress infringement

claims.

                       3.2.2 Distinctiveness

          Man Wah also challenges Raffel’s alleged trade dress claim on the grounds that the

trade dress lacks distinctiveness. Again, trade dress is only protectible if it is distinctive, and

distinctiveness can be shown if the trade dress is “inherently distinctive” or has acquired

“secondary meaning.” Thomas & Betts Corp., 138 F.3d at 291. Raffel does not assert that its

trade dress is inherently distinctive. (See Pl.’s Br. in Opp. at 5–7, Docket # 319-1.) Rather,

Raffel argues that a question of fact exists as to whether its trade dress has acquired secondary

meaning. (Id.)

          Secondary meaning, also called acquired distinctiveness, is a mental association in

consumers’ minds between the appearance of the product and the product’s source. S.A.M.

Elecs., Inc. v. Osaraprasop, 39 F. Supp. 2d 1074, 1083 (N.D. Ill. 1999); see also Spraying Sys. Co.

v. Delavan, Inc., 975 F.2d 387, 393 (7th Cir. 1992) (stating that secondary meaning is “a mental

association in buyers’ minds between the alleged mark and a single source of the product”);

Jay Franco & Sons, Inc. v. Franek, 615 F.3d 855, 857 (7th Cir. 2010) (defining “secondary

meaning” as “a link in the minds of consumers between the marked item and its source”).

“Secondary meaning is described as a showing that the primary significance in the minds of

the consuming public is not the product but the producer.” Pride Communications Ltd.

                                                25



           Case 2:18-cv-01765-NJ Filed 11/05/21 Page 25 of 54 Document 361
Partnership v. WCKG, Inc., 851 F. Supp. 895, 901 (N.D. Ill. 1994). Secondary meaning can be

established through direct consumer testimony, consumer surveys, length and manner of use,

amount and manner of advertising, volume of sales, place in the market, and proof of

intentional copying. Spraying Sys. Co., 975 F.2d at 393. “The most direct form of evidence of

secondary meaning is consumer testimony or surveys.” S.A.M. Elecs., 39 F. Supp. 2d at 1083.

       Raffel cites to its expert report (which relies significantly on Stangl’s deposition

testimony), as evidence that its trade dress has acquired secondary meaning. (Kemnitzer

Expert Report at ¶¶ 106–19.) Raffel points to the following evidence of secondary meaning:

   x   Raffel has used its trade dress since 2010;
   x   Raffel has expended significant sums in marketing its trade dress;
   x   Raffel is well-known and respected in the cup holder marketplace and essentially
       created the market for lighted cup holders;
   x   Raffel has had significant sales of the ICH Products throughout the United States and
       are the essential components in many top-selling motion furniture pieces over the last
       eight years;
   x   Raffel’s cup holders have prominent, distinctive, and non-functional features that
       differentiates its cup holders from its competitors and identifies the origins of the cup
       holder to consumers;
   x   Since introducing its lighted cup holder in 2009, several other manufacturers have
       introduced competitive lighted cup holders;
   x   There was evidence of consumer confusion between Raffel’s cup holders and Man
       Wah’s defective cup holders

At first blush, the evidence Raffel puts forth to show secondary meaning is weak at best. The

most direct, and obviously the best, form of evidence of secondary meaning is from consumer

testimony or surveys, see S.A.M. Elecs., 39 F. Supp. 2d at 1083, and Raffel has none of those.

And while the amount and manner of advertising is evidence of secondary meaning, only if

the advertising evidences an attempt to identify the product’s features with the product’s

source. Id. at 1084. Kemnitzer’s report does not describe what the advertising entailed. Same

                                              26



        Case 2:18-cv-01765-NJ Filed 11/05/21 Page 26 of 54 Document 361
with Raffel’s length and manner of use and place in the market. While Raffel may be a well-

known and respected leader in the cup holder marketplace, that does not automatically mean

that consumers are associating lighted cup holders with Raffel.

       My pause, however, comes with Raffel’s evidence that customers contacted Raffel

when having issues with Man Wah’s products, believing the cup holders originated with

Raffel. (Kemnitzer Expert Report at ¶ 117.) Evidence of a competitor attempting to “pass off”

its products as another’s can be evidence that the product has acquired secondary meaning.

See Thomas & Betts Corp., 65 F.3d at 663 (“[T]he defendant’s belief that plaintiff’s trade dress

has acquired secondary meaning—so that his copying will indeed facilitate his passing off—

is some evidence that the trade dress actually has acquired secondary meaning.”). For this

reason, I find that Raffel has put forth sufficient evidence to send its trade dress infringement

claim to a jury.

       Man Wah’s motion for summary judgment as to claims three, four, seven, and eight

are denied.

               3.3    Trade Dress Dilution (Claim Five)

       Man Wah moves for summary judgment on Raffel’s claim of trade dress dilution,

arguing that Raffel has failed to establish the level of fame necessary to succeed on this claim.

(Defs.’ Br. in Supp. of Summ. Judg. at 12, Docket # 295-2.) Raffel counters that it has

adduced sufficient evidence of fame to send the question to a jury. (Pl.’s Br. in Opp. at 10,

Docket # 319-1.) The evidence Raffel presents of its trade dress’ “fame” is the fact that Raffel

has enjoyed significant sales of its cup holders and its product is incorporated into many top-

selling furniture products, that consumers were confused as to the origins of Man Wah’s

                                               27



        Case 2:18-cv-01765-NJ Filed 11/05/21 Page 27 of 54 Document 361
product (believing it to be Raffel’s), and Stangl’s testimony that the cup holder “has

contributed to the Raffel name” and made Raffel “well-known universally.” (Id.)

       While Raffel’s trade dress certainly does not have the general household recognition

of, for example, McDonald’s golden arches, when a defendant allegedly uses a mark in the

same market as the plaintiff, “fame” can be based on nationwide recognition in a niche

market. Syndicate Sales, Inc. v. Hampshire Paper Corp., 192 F.3d 633, 641 (7th Cir. 1999). But

even limiting the market to that of furniture, the evidence Raffel presents is insufficient to

show that its trade dress is famous. The statute lists potentially relevant factors to consider in

deciding fame, including: the duration, extent, and geographic reach of advertising and

publicity of the mark, whether advertised or publicized by the owner or third parties; the

amount, volume, and geographic extent of sales of goods or services offered under the mark;

and the extent of actual recognition of the mark. 15 U.S.C. §1125(c)(2)(A)(i)–(iii). While

Raffel argues that it has significant sales, and, in its opinion, is “well-known universally” in

the furniture world, this is insufficient evidence to show that its trade dress is famous. As

stated above, Raffel points to nothing in its advertising showing its trade dress was touted,

nor does it provide any evidence of actual broad recognition of the trade dress. For these

reasons, summary judgment is granted in Man Wah’s favor as to count five of Raffel’s Fourth

Amendment Complaint. This claim is dismissed.

               3.4    Summary of Remaining Trade Dress Claims

       To repeat, summary judgment is granted in Man Wah’s favor as to Raffel’s trade dress

dilution claim. Count Five is dismissed. However, Man Wah’s motion for summary judgment

as to Counts Three, Four, Seven, and Eight is denied and these counts remain for trial.

                                               28



        Case 2:18-cv-01765-NJ Filed 11/05/21 Page 28 of 54 Document 361
       4.      Whether the ‘986 Patent is Invalid Due to On-Sale Bar

       Raffel sues Man Wah for infringement of its U.S. Patent No. D821,986 (“the ‘986

patent”). (Docket # 108 at 50–51, ¶¶ 241.) Man Wah counterclaimed seeking a declaration of

invalidity and unenforceability of the ‘986 patent (Docket # 103 at 43, ¶¶ 81–85), pursuant to

35 U.S.C. § 102(a)(1), the on-sale bar. I previously stayed the litigation as to this claim as the

issue was being litigated before the Patent Trial and Appeal Board (“PTAB”). (Docket # 314.)

Raffel acknowledged that an invalidity decision on grounds in parallel PTO proceedings are

binding in concurrent infringement litigation. (Docket # 304 at ¶¶ 13–16.)

       During the pendency of the summary judgment briefing, the PTAB rendered a

decision finding the ‘986 patent unpatentable under the on-sale bar. (Docket # 345-1.) As this

decision is binding on this Court, see Fresenius USA, Inc. v. Baxter Int’l, Inc., 721 F.3d 1330,

1340 (Fed. Cir. 2013) (“[W]hen a claim is cancelled, the patentee loses any cause of action

based on that claim, and any pending litigation in which the claims are asserted becomes

moot.”), I will grant Man Wah’s motion for summary judgment and dismiss this claim.

       5.      Declaratory Judgment Claims – Raffel’s Motion for Partial Judgment on the Pleadings
               (Docket # 287)

       During the pendency of this litigation, Man Wah redesigned its accused cup holders

and presented them to Raffel (hereinafter referred to as the “New Cup Holders”). (Docket #

103 at ¶ 61.) Raffel responded by sending a letter dated July 30, 2019, informing Man Wah

that the New Cup Holders allegedly infringed certain of Raffel’s patents, specifically, the ‘505

Patent, the ‘882 Patent, the ‘968 Patent, and the ‘603 Patent. (Id.) Soon thereafter, on

September 20, 2019, Man Wah filed its third amended answer and sought declarations that

the New Cup Holders do not infringe the patents-in-suit. (Docket # 103 at ¶¶ 60–80.) Raffel,
                                           29



        Case 2:18-cv-01765-NJ Filed 11/05/21 Page 29 of 54 Document 361
for its part, has never alleged (in court) that the New Cup Holders infringe its patents, despite

subsequently filing a Fourth Amendment Complaint. (Docket # 108.) Man Wah, however,

continues its counterclaims for declaratory judgment. (Docket # 193.) Specifically, Man Wah

seeks a declaration that its New Cup Holders do not infringe the ‘252 Patent, the ‘293 Patent,

the ‘505 Patent, the ‘882 Patent, the ‘968 Patent, and the ‘603 Patent. (Counterclaims XV–

XXI12). Raffel has filed a motion for judgment on the pleadings as to the “New Cup Holder”

counterclaims (Docket # 287), which it argues will resolve Man Wah’s summary judgment

motion as to those counterclaims (Pl.’s Br. in Opp at 11). Raffel argues that because it is not

pursuing infringement claims against the New Cup Holders, there is no live controversy for

the Court to adjudicate.

                5.1      Applicable Law

        A motion for judgment on the pleadings under Rule 12(c) is granted “only if ‘it appears

beyond doubt that the plaintiff cannot prove any facts that would support his claim for relief.’”

Northern Indiana Gun & Outdoor Shows, Inc. v. City of South Bend, 163 F.3d 449, 452 (7th Cir.

1998) (internal citations omitted). The moving party should be “clearly entitled to judgment.”

Edmonds v. United States, 148 F. Supp. 185, 186 (E.D. Wis. 1957). In order to succeed, “the

moving party must demonstrate that there are no material issues of fact to be resolved.”

Northern Indiana Gun & Outdoor Shows, Inc., 163 F.3d at 452. Further, the complaint must be

construed in the manner most favorable to the nonmoving party. Id. (citing GATX Leasing

Corp. v. National Union Fire Ins. Co., 64 F.3d 1112, 1114 (7th Cir. 1995)). A motion for


                                 
12
  Counterclaim XXI seeks a declaration of invalidity as to the ‘986 Patent. This counterclaim is now moot
given the finding of the PTAB.
                                                     30



         Case 2:18-cv-01765-NJ Filed 11/05/21 Page 30 of 54 Document 361
judgment on the pleadings under Fed. R. Civ. P. 12(c) is decided in the same manner as a

motion to dismiss for failure to state a claim under Fed. R. Civ. P. 12(b)(6). Id. In determining

if the complaint is sufficient, the court looks only to the pleadings, which include “the

complaint, the answer, and any written instruments attached as exhibits.” Id. (internal

citations omitted).

       The counterclaims subject to Raffel’s motion are claims for declaratory judgment. It is

well-established that, in patent cases, the existence of a “case or controversy must be evaluated

on a claim-by-claim basis.” Streck, Inc. v. Rsch. & Diagnostic Sys., Inc., 665 F.3d 1269, 1281–82

(Fed. Cir. 2012). A party claiming declaratory judgment jurisdiction has the burden of

showing “that the facts alleged, ‘under all the circumstances, show that there is a substantial

controversy, between the parties having adverse legal interests, of sufficient immediacy and

reality to warrant the issuance of a declaratory judgment.’” Id. (internal citations omitted).

               5.2    Analysis

       Raffel contends that because it has not pursued infringement claims against the New

Cup Holders, there is no live case or controversy for the Court to decide. (Pl.’s Br. in Supp.

of Judg. on Pleadings at 5–6, Docket # 287.) Man Wah counters that Raffel’s allegations of

infringement are open-ended, and thus Man Wah faces a clear threat of litigation as to these

new cup holders without a declaratory judgment finding. (Defs.’ Br. in Opp. to Judg. on

Pleadings, Docket # 307.)

       The Declaratory Judgment Act provides that “[i]n a case of actual controversy within

its jurisdiction, . . . any court of the United States, upon the filing of an appropriate pleading,

may declare the rights and other legal relations of any interested party seeking such

                                                31



        Case 2:18-cv-01765-NJ Filed 11/05/21 Page 31 of 54 Document 361
declaration, whether or not further relief is or could be sought.” 28 U.S.C. § 2201(a). “The

purpose of the Declaratory Judgment Act, as the Supreme Court has explained, is to

ameliorate the dilemma posed by ‘putting the challenger to the choice between abandoning

his rights or risking prosecution.’” UCP Int'l Co. Ltd. v. Balsam Brands Inc., 787 F. App’x 691,

698 (Fed. Cir. 2019) (quoting MedImmune, Inc. v. Genentech, Inc., 549 U.S. 118, 129 (2007)).

The Federal Circuit has found that “declaratory judgment jurisdiction generally will not arise

merely on the basis that a party learns of the existence of a patent owned by another or even

perceives such a patent to pose a risk of infringement, without some affirmative act by the

patentee.” SanDisk Corp. v. STMicroelectronics, Inc., 480 F.3d 1372, 1380–81 (Fed. Cir. 2007).

Generally, an affirmative act by the patentee is “conduct that can be reasonably inferred as

demonstrating intent to enforce a patent.” Hewlett–Packard Co. v. Acceleron LLC, 587 F.3d 1358,

1363 (Fed. Cir. 2009).

       Raffel contends that although it initially alerted Man Wah about its potential

infringement of its “intellectual property” and stated that it did not object to Man Wah filing

counterclaims for declaratory judgment, it never actually pursued any of its claims, despite

filing a Fourth Amendment Complaint. (Pl.’s Br. in Opp. at 11, Docket # 319-1.) Raffel

further argues that it has refused to enter into a covenant not to sue with Man Wah regarding

these New Cup Holders because the agreement Man Wah presented was overbroad and

“would have immunized Man Wah from future infringement of Raffel’s intellectual property

rights, including intellectual property not asserted in this case.” (Id. at 11–12.)

       But Man Wah’s present situation is exactly the “sad and saddening scenario” that “led

to enactment of the Declaratory Judgment Act”:

                                                32



        Case 2:18-cv-01765-NJ Filed 11/05/21 Page 32 of 54 Document 361
       In the patent version of that scenario, a patent owner engages in a danse macabre,
       brandishing a Damoclean threat with a sheathed sword. Guerrilla-like, the
       patent owner attempts extra-judicial patent enforcement with scare-the-
       customer-and-run tactics that infect the competitive environment of the
       business community with uncertainty and insecurity. Before the Act,
       competitors victimized by that tactic were rendered helpless and immobile so
       long as the patent owner refused to grasp the nettle and sue. After the Act, those
       competitors were no longer restricted to an in terrorem choice between the
       incurrence of a growing potential liability for patent infringement and
       abandonment of their enterprises; they could clear the air by suing for a
       judgment that would settle the conflict of interests.

Hewlett-Packard Co., 587 F.3d at 1362 (quoting Arrowhead Indus. Water, Inc. v. Ecolochem, Inc.,

846 F.2d 731, 734–35 (Fed. Cir. 1988)) (quotations and citations omitted). As was its right,

Raffel has a clear history of defending its patents, specifically against Man Wah related to its

cup holders. See Prasco, LLC v. Medicis Pharm. Corp., 537 F.3d 1329, 1341 (Fed. Cir. 2008)

(“Prior litigious conduct is one circumstance to be considered in assessing whether the totality

of circumstances creates an actual controversy.”). Raffel sent Man Wah a letter specifically

contending that the New Cup Holders infringe Raffel’s “intellectual property,” including its

patents, specifically the ‘505 Patent, the ‘882 Patent, the ‘968 Patent, and the ‘603 Patent,

“several of which are at issue in Case 18-CV-1765.” (Declaration of Clark Bakewell at ¶ 25,

Ex. 24, Docket # 299-24.) Raffel included in its letter a photograph of the accused cup holder

and stated examples of how it infringed various of its patent claims. (Id.)

       Given these facts, while Raffel may not be pursuing an infringement claim as to Man

Wah’s New Cup Holders in this lawsuit, that does not mean that it will not likely happen in

the future, especially given Raffel’s assertion that it would not enter into a covenant not to

sue because it “would have immunized Man Wah from future infringement of Raffel’s

intellectual property rights, including intellectual property not asserted in this case.” The facts

                                                33



        Case 2:18-cv-01765-NJ Filed 11/05/21 Page 33 of 54 Document 361
of this case sufficiently show a substantial controversy of sufficient immediacy and reality to

warrant the issuance of a declaratory judgment. As such, Raffel’s motion for judgment on the

pleadings is denied.

       Turning to the merits of Man Wah’s declaratory judgment counterclaims, Man Wah

seeks a declaration of non-infringement as to the New Cup Holders infringing the ‘252 Patent,

the ‘293 Patent, the ‘505 Patent, the ‘882 Patent, the ‘968 Patent, and the ‘603 Patent. Man

Wah argues that Raffel “has done nothing to prove infringement and cannot now carry its

burden of proof.” (Defs.’ Br. in Supp. of Summ. Judg. at 18, Docket # 295-2.) Man Wah is

correct. Raffel makes no arguments whatsoever that Man Wah’s New Cup Holders infringe

its patents. Although Man Wah brings the declaratory judgment claim, the Supreme Court in

Medtronic, Inc. v. Mirowski Fam. Ventures, LLC, 571 U.S. 191, 194 (2014) explicitly declined to

shift the burden of proving infringement from the patentee to the declaratory judgment

plaintiff. As the purpose of the Declaratory Judgment Act, specifically with respect to patents,

is to allow potential producers of a product to know whether their potential product infringes,

shifting the burden of infringement to the declaratory judgment plaintiff would frustrate that

purpose:

       To shift the burden depending upon the form of the action could create
       postlitigation uncertainty about the scope of the patent. Suppose the evidence
       is inconclusive, and an alleged infringer loses his declaratory judgment action
       because he failed to prove noninfringement. The alleged infringer, or others,
       might continue to engage in the same allegedly infringing behavior, leaving it
       to the patentee to bring an infringement action. If the burden shifts, the patentee
       might lose that action because, the evidence being inconclusive, he failed to
       prove infringement. So, both sides might lose as to infringement, leaving the
       infringement question undecided, creating uncertainty among the parties and
       others who seek to know just what products and processes they are free to use.


                                               34



        Case 2:18-cv-01765-NJ Filed 11/05/21 Page 34 of 54 Document 361
Id. at 199–200. As such, the burden of infringement remains with Raffel as to Man Wah’s

New Cup Holders. Raffel clearly had, at least a general argument, as to how it believed Man

Wah’s new products infringed its patents, as it articulated specific claim numbers in its July

2019 letter. But Raffel chose to mount no defense to the merits of Man Wah’s counterclaims,

relying solely on its jurisdictional argument. Unfortunately, Raffel’s strategy worked to its

detriment in this case. Because Raffel has failed to show how Man Wah’s New Cup Holders

infringe its patents, summary judgment is granted in Man Wah’s favor as to its Counterclaims

XV–XX. See Novartis Corp. v. Ben Venue Lab’ys, Inc., 271 F.3d 1043, 1046 (Fed. Cir. 2001)

(“Since the ultimate burden of proving infringement rests with the patentee, an accused

infringer seeking summary judgment of noninfringement may meet its initial responsibility

either by providing evidence that would preclude a finding of infringement, or by showing

that the evidence on file fails to establish a material issue of fact essential to the patentee’s

case.”). Declaratory judgment is entered finding that the New Cup Holders do not infringe

the ‘252 Patent, the ‘293 Patent, the ‘505 Patent, the ‘882 Patent, the ‘968 Patent, and the ‘603

Patent.

          6.     Design Patent Infringement

          Raffel also alleges that Man Wah’s ICH cup holders infringe its design patent, the ‘252

Patent, which covers the ornamental design of the cup holders. Man Wah counterclaims for

a declaration of noninfringement of the ‘252 Patent (Counterclaim IX, Docket # 193) and

moves for summary judgment on its counterclaim.




                                                35



           Case 2:18-cv-01765-NJ Filed 11/05/21 Page 35 of 54 Document 361
               6.1    Applicable Law

       A design patent is infringed “[i]f, in the eye of an ordinary observer, giving such

attention as a purchaser usually gives, two designs are substantially the same, if the

resemblance is such as to deceive such an observer, inducing him to purchase one supposing

it to be the other.” Ethicon Endo-Surgery, Inc. v. Covidien, Inc., 796 F.3d 1312, 1335 (Fed. Cir.

2015) (internal quotations and citations omitted). As with utility patents, the patentee must

prove infringement of a design patent by a preponderance of the evidence. Id. “Where the

claimed and accused designs are ‘sufficiently distinct’ and ‘plainly dissimilar,’ the patentee

fails to meet its burden of proving infringement as a matter of law.” Id. (citation omitted). If

the claimed and accused designs are not plainly dissimilar, the inquiry may benefit from

comparing the claimed and accused designs with prior art to identify differences that are not

noticeable in the abstract but would be significant to the hypothetical ordinary observer

familiar with the prior art. Id. The ordinary observer is not an expert in the claimed designs,

but one of “ordinary acuteness” who is a “principal purchaser[ ]” of the underlying articles

with the claimed designs. Id. at 1337.

       Differences must be evaluated in the context of the claimed design as a whole, and not

in the context of separate elements in isolation. Id. at 1335. Where the claimed design includes

several elements, the fact finder must apply the ordinary observer test by comparing

similarities in overall designs, not similarities of ornamental features in isolation. Id. An

element-by-element comparison, untethered from application of the ordinary observer inquiry

to the overall design, is procedural error. Id.



                                                  36



        Case 2:18-cv-01765-NJ Filed 11/05/21 Page 36 of 54 Document 361
              6.2    Analysis

       During the claim construction phase of this litigation, I construed the ‘252 Patent

claims as: “The ornamental aspects or features of a cup holder depicted in FIGS. 1–8.”

(Docket # 190 at 20.) Both parties have submitted conflicting expert reports as to whether

Man Wah’s cup holders infringe the ‘252 Patent. (See Kemnitzer Expert Report at ¶¶ 68–96;

Declaration of Alan Ball ¶ 5, Ex. B, Rebuttal Ball Expert Report, Docket # 298-2.)

       Man Wah’s principal argument is that the accused ICH cup holders have dimples on

the flange (picture on right) whereas the design depicted in the ‘252 Patent does not (picture

on left). (DPFOF ¶ 50, Docket # 295-3.)

                         Fig.1                                     AccusedCupHolder




(Kemnitzer Expert Report at ¶ 76.) Man Wah argues that the use of solid black lines (as

opposed to broken lines) and surface shading indicates a specific, narrow ornamental cup

holder design consisting of a smooth top surface on the extended flange without any dimples

or depressions. (Defs.’ Br. in Supp. of Summ. Judg. at 23 quoting In re Maatita, 900 F.3d 1369,

1372 (Fed. Cir. 2018) (“As is customary, the solid lines of Figure 1 show the claimed design,

                                              37



        Case 2:18-cv-01765-NJ Filed 11/05/21 Page 37 of 54 Document 361
whereas the broken lines show structure that is not part of the claimed design.”) and 37 C.F.R.

§ 1.152 (“Appropriate and adequate surface shading should be used to show the character or

contour of the surfaces represented.”).) Man Wah argues that in the eyes of the ordinary

observer—which the parties generally agree would be a consumer purchasing a powered

seating arrangement with powered, lighted cup holders—the claimed design in the ‘252 Patent

differs substantially from the accused ICH cup holders. (Id. at 24.)

       In opposing Man Wah’s summary judgment motion, Raffel relies primarily on the

report of its expert in support of its argument that the “overall appearance of the accused Man

Wah products would appear substantially the same as the overall appearance of the D252

Patent design in the eye of an ordinary observer who is familiar with the prior art.” (Kemnitzer

Expert Report at ¶ 74.) In reaching this conclusion, Kemnitzer performs a side-by-side

comparison of each of the figures depicted in the ‘252 Patent with Man Wah’s accused cup

holders. Figures 1, 2, and 3 of the ‘252 Patent all depict a top view of the flange. Kemnitzer

notes that both designs have “an upper flange element that is a circular ring with a

concentrically extending portion that represents approximately one-third of the circumference

of the flange. The top edges of both of these flange elements have a small radiused edge.” (Id.

at ¶ 77.) He further opines, however, that the “only visible difference in this element is the

indication of an inscribed line around the perimeter of the extended portion of the flange in

the D252 design while the accused product has no such visual detail. In my opinion this visual

difference is so minor as to be immaterial to an Ordinary Observer in the overall visual

perception of the product.” (Id.)



                                              38



        Case 2:18-cv-01765-NJ Filed 11/05/21 Page 38 of 54 Document 361
       But this is clearly not the “only visible difference” between the two flanges. Kemnitzer

completely fails to address the most significant difference between the two cup holders—the

dimpled versus smooth appearance of the flange. In this case, I find there is no genuine dispute

of material fact that the claimed and accused designs of the cup holders are plainly dissimilar.

Take, for example, the claimed and accused designs at issue in Ethicon Endo-Surgery, Inc.:



                                                             The court found that although

                                                             the two medical devices were

                                                             similar at a general conceptual

                                                             level in that both contained an

                                                             open trigger, a small activation

button, and a fluted torque knob in relatively similar positions, the ornamental features made

the designs “plainly dissimilar.” 796 F.3d at 1336. Specifically, the court looked at the “most

obvious difference” being the “overall contoured shape” of the claimed design and the

“overall linear shape” of the accused design. Id. Or, the federal circuit’s determination in

Lanard Toys Ltd. v. Dolgencorp LLC, 958 F.3d 1337, 1344 (Fed. Cir. 2020), in which it upheld

the district court’s finding of non-infringement of the following design:




                                              39



        Case 2:18-cv-01765-NJ Filed 11/05/21 Page 39 of 54 Document 361
                                                 Lanard Toys Ltd. v. Toys ''R'' Us-Delaware, Inc., No. 3:15-

                                                 CV-849-J-34PDB, 2019 WL 1304290, at *16 (M.D.

                                                 Fla. Mar. 21, 2019). The district court found that the

                                                 distinctions between the patented design and the

                                                 accused product were “readily apparent,” including

the “most prominent” feature being the appearance of the ferrules.13 Id. The court found that

the “ferrule on the patented design has three horizontal ridges in the center, while the ferrule

on the accused design has a series of vertical lines in the center, with two horizontal ridges at

the top and bottom of the vertical lines.” Id. Thus, in this case, given the importance and

prominence of the flange, which is undoubtedly the main portion of the cup holder the

customers see (as the cup holder is incorporated into furniture), the dimpled versus smooth

design of the flange is a significant ornamental difference that makes designs “plainly

dissimilar.” And where the claimed and accused designs are “sufficiently distinct” and

“plainly dissimilar,” the patentee fails to meet its burden of proving infringement as a matter

of law. Ethicon Endo-Surgery, Inc., 796 F.3d at 1335. For these reasons, Man Wah’s motion for

summary judgment as to non-infringement of the ‘252 Patent is granted.14

                                    
13
   A ferrule is a ring or cap, typically a metal one, which strengthens the end of a handle, stick, or tube and prevents
it from splitting or wearing.
14
   Man Wah contends that despite the ‘252 Patent claims construed as the “ornamental aspects or features of a
cup holder,” Raffel has claimed that the proper article of manufacture for the ‘252 Patent may be the entire
furniture pieces, such as the sofas that include the cup holders, and are thus included to damages equaling the
entire profits of those furniture sales. (Defs.’ Br. in Supp. of Summ. Judg. at 27, Docket # 295-2.) Man Wah has
moved for summary judgment finding that the proper article of manufacture is simply the cup holder. Since,
however, defining the proper article of manufacture is the first step in determining a damages award for design
patent infringement, see Samsung Elecs. Co. v. Apple Inc., 137 S. Ct. 429, 434 (2016), and summary judgment has

                                                          40



          Case 2:18-cv-01765-NJ Filed 11/05/21 Page 40 of 54 Document 361
        7.      Man Wah’s Breach of Contract Counterclaims and Motion to Conduct Limited
                Discovery (Docket # 316)

        By way of background, in Raffel’s Fourth Amended Complaint, it sues Man Wah for

breach of contract and breach of the duty of good faith and fair dealing, alleging that Man

Wah ordered specific products from Raffel, creating a binding agreement, and Man Wah

refused to accept delivery of the products. (Fourth Am. Compl. ¶¶ 222–240, Ex. 20, Docket

# 108.) These alleged orders all took place in May 2019. (Id.) Raffel alleges that Man Wah

refused to accept the products it ordered to pressure Raffel to dismiss its lawsuit against Man

Wah. (Id. ¶ 231.) Man Wah counterclaimed against Raffel with its own breach of contract,

breach of the implied duty of good faith and fair dealing, and a covenant not to sue causes of

action, alleging that the parties entered into two supplier contracts with substantially the same

terms on January 1, 2016 and January 1, 2017, respectively, and that Raffel breached these

contracts by bringing the instant lawsuit (as the contracts contain a provision specifying that

“any disputes arising from the execution of the contract or related to the contract should be

settled through friendly negotiation between the two parties”) and by selling cup holders and

switches to third parties when the agreements provided for an exclusive relationship with Man

Wah. (Counterclaim XI and XIV, Docket # 193.)

        Neither party moves for summary judgment as to Raffel’s breach of contract claim,

and the specific purchase orders at issue in those claims are not appended to the Fourth

Amended Complaint. Raffel does, however, move for summary judgment as to Man Wah’s

breach of contract counterclaims. (Pl.’s Br. in Supp. of Partial Summ. Judg. at 20–29, Docket

                                
been granted on Man Wah’s counterclaim for non-infringement of the ‘252 Patent, this argument is now moot
and I need not address it.
                                                   41



         Case 2:18-cv-01765-NJ Filed 11/05/21 Page 41 of 54 Document 361
# 292-1.) Raffel’s principal arguments are that the 2016 agreement expired on December 31,

2016 and was never renewed (and thus there was no valid contract from 2017-2019) and that

Raffel was not a party to either of the alleged supplier agreements. (Id.) Raffel further argues

that even if it was a party to the contracts, Man Wah cannot prove breach. (Id.)

       Thus, as a threshold matter, I must determine whether Raffel is either a party or

otherwise bound to the two supplier contracts that are the subject of Man Wah’s

counterclaims and whether a valid 2017 agreement exists.

               7.1     Whether Raffel is Bound by the Supplier Contracts

       The record contains a “Supplier Contract” executed on January 1, 2016 (Docket #

133-1) and an additional “Supplier Contract” executed on January 1, 2017 (Declaration of

Nancy Cruz, ¶ 28, Ex. 28, Docket # 291-28). On the face of the documents, both agreements

are between the “Purchaser,” or “Party A,” defined as Man Wah Furniture Manufacturing

(Huizhou) Co., Ltd., and “Supplier,” or “Party B,” defined as Xiamen Raffel Electronic

Trading Co., Ltd. (Docket # 133-1; Docket # 291-28.) On both contracts, Raffel’s president

at the time of execution, Paul Stangl, is listed as Xiamen Raffel’s “legal representative.”

       Clearly, on the face of the contract, the plaintiff in this case, Raffel Systems, LLC, is

not a party to the contract. The contract was signed by Xiamen Raffel Electronic Trading Co.,

Ltd. Can, however, Raffel Systems, LLC be bound by the contract? Under Wisconsin law,

the mere existence of a parent-subsidiary relationship, by itself, is insufficient to establish that

a principal-agent relationship exists between the two entities. Insolia v. Philip Morris Inc., 31 F.

Supp. 2d 660, 671 (W.D. Wis. 1998). Where no explicit authorization exists, a court may find

so-called implied or apparent agency if the following three elements are established: (1) acts

                                                42



        Case 2:18-cv-01765-NJ Filed 11/05/21 Page 42 of 54 Document 361
by the agent or principal justifying belief in the agency; (2) knowledge of these acts by the

party sought to be held responsible as a principal or as an agent; and (3) reliance on the

existence of the relationship by plaintiffs, consistent with ordinary care and prudence. Id.

(citing Schaefer v. Dudarenke, 89 Wis. 2d 483, 489–490, 278 N.W.2d 844, 847 (1979)).

       Raffel argues that Raffel and Xiamen Raffel are separate entities. (Defs.’ Proposed

Add. Findings of Fact ¶ 18–19, Docket # 328 and Pl.’s Resp. ¶¶ 18–20, Docket # 337.) Raffel

contends that Xiamen Raffel has its own employees and that Raffel does not control Xiamen

Raffel’s day-to-day operations. (Id.) There is no question that the relationship between Raffel

and Xiamen Raffel is one of parent-subsidiary. Richard Weeden, Raffel’s current president

who joined Raffel in August 2014 as the operations manager, testified that Xiamen Raffel is

a “fully-owned subsidiary” of Raffel and had been since Xiamen Raffel was started

approximately three years prior. (Declaration of Clark Bakewell ¶ 6, Ex. E, August 1, 2019

Deposition of Richard Weeden at 8, 12–13, Docket # 325.) Weeden testified that Raffel

Systems started Xiamen Raffel to improve Raffel’s presence overseas and to provide better

customer service. (Id. at 13.) Xiamen Raffel does not produce products, but serves as Raffel

System’s office for customer service and order placement. (Id.) Xiamen Raffel has

approximately 15 employees. (Id.) Paul Stangl, Raffel’s president at the time the agreements

at issue were executed, similarly testified that Xiamen Raffel is a wholly-owned subsidiary of

Raffel Systems. (Declaration of Clark Bakewell ¶ 7, Ex. F, August 2, 2019 Deposition of Paul

Stangl at 64, Docket # 325.) When asked about Xiamen Raffel’s “officers,” Stangl testified

that Ben Song was the “general manager,” but there were no other officers. (Id. at 65.) Stangl



                                              43



        Case 2:18-cv-01765-NJ Filed 11/05/21 Page 43 of 54 Document 361
testified that Xiamen Raffel had no board of directors and that Raffel Systems generally

controlled the major decisions of Xiamen Raffel. (Id.)

       When asked what type of decision he would consider “major,” Stangl testified that

day-to-day operating decisions are not “major decisions.” (Id. at 66.) When questioned about

selling cup holders to Man Wah, Stangl testified that the “actual seller” of the product is

Xiamen Raffel, not Raffel Systems. (Id.) When asked to explain why, Stangl testified:

       That would go to the setup of the Chinese system. Can’t sell domestically in
       China because you can’t issue vet certificates unless you’re a China entity. So
       to legally do it, you have to be a China entity.

(Id. at 66–67.) Stangl acknowledged, however, that Raffel Systems benefits financially from

Xiamen Raffel’s sales because of the parent-subsidiary relationship. (Id. at 69.)

       Given the testimony of Raffel’s own employees about the relationship between Raffel

and Xiamen Raffel, it is clear that Xiamen Raffel acted on Raffel’s behalf. Raffel’s president

Weeden clearly testified that the sole purpose of Xiamen Raffel was to effectuate Raffel

System’s sales in China. This is corroborated by Stangl’s testimony that under Chinese law,

Raffel Systems, as a non-Chinese company, would not be allowed to sell domestically in

China, so Xiamen Raffel was created to fulfill that role. Stangl testified that Raffel makes all

major decisions concerning Xiamen Raffel, and it is disingenuous at best for Raffel to contend

that entering into contracts for sale of products falls under a “day-to-day” operation. Thus, I

find the evidence clearly supports that Raffel Systems is bound by the two agreements relevant

to Man Wah’s counterclaims.




                                              44



        Case 2:18-cv-01765-NJ Filed 11/05/21 Page 44 of 54 Document 361
              7.2    Validity of 2017 Agreement

       Raffel contends that even if it is bound by the 2016 Supplier Agreement, the

Agreement expired on December 31, 2016; thus, there was no validly executed supplier

agreements for 2017-2019. (Pl.’s Br. in Supp. of Partial Summ. Judg. at 22–24, Docket # 292-

1.) Raffel argues that after the 2016 contract expired, while negotiations took place for an

additional supplier agreement and drafts were exchanged, no final agreement was executed

because Man Wah rejected Raffel’s proposed amendments. (Pl.’s Br. in Supp. of Partial

Summ. Judg. at 22–23.)

       In support of its argument, Raffel points to the testimony of several Man Wah

employees. For example, Zoe Wong, who served as Man Wah’s Deputy General Manager

during the relevant time period, testified that she was unsure whether Man Wah signed an

additional agreement with Raffel after the first expired. (Cruz Decl. ¶ 3, Ex. 3, Dec. 18, 2019

Deposition of Zoe Wong at 15, 106, Docket # 291-3.) Also, Binghuang Chen, Man Wah’s

Purchasing Manager, testified that the 2017 contract that he had “in [his] hand” (identified as

Exhibit 89) was never signed because Man Wah disagreed with Raffel’s proposed

amendments. (Cruz Decl. ¶ 8, Ex. 8, Dec. 17, 2019 Deposition of Binghuang Chen at 10, 55–

56, Docket # 291-8.) Chen later testified that Exhibit 89 was “a draft supplier agreement that

was exchanged between Man Wah and Raffel in 2017.” (Id. at 80–82.) Finally, Man Wah’s

Deputy Director of purchasing, Linhua Huang, testified that he was involved in the

negotiations related to the 2017 supplier contract and after being shown a draft of the 2017

agreement, testified that Raffel proposed amendments that Man Wah rejected. (Cruz Decl. ¶

9, Ex. 9, Dec. 19, 2019 Deposition of Linhua Huang at 72–73, Docket # 291-9.) Huang did

                                              45



        Case 2:18-cv-01765-NJ Filed 11/05/21 Page 45 of 54 Document 361
not testify, however, as Raffel asserts, that the 2017 Supplier Agreement was “not executed

because Man Wah rejected Xiamen Raffel’s proposed amendments.” (PPFOF ¶ 48.)

       While I agree that the testimony Raffel puts forth supports that Man Wah rejected

some proposed amendments to the 2017 Supplier Agreement, the testimony does not support

that no agreement was ever executed. In fact, the record contains an executed agreement,

signed by both Man Wah and Xiamen Raffel in January 2017 and affixed with Xiamen

Raffel’s stamped seal. (Docket # 291-27; 291-28.) Raffel does not contest the authenticity of

the document. (See PPFOF ¶ 48 and Defs.’ Resp. ¶ 48, and Pls.’ Reply ¶ 48.) While Raffel

asserts that “there is no evidence in the record that Man Wah ever sent back a signed

agreement in 2017,” (PPFOF ¶ 56), Raffel points to no evidence that it never received the

fully executed agreement. In fact, the agreement indicates that Raffel signed the agreement

on January 13, 2017, whereas Man Wah signed on January 1, 2017. (Docket # 291-28.) Thus,

Raffel would have seen Man Wah’s execution of the agreement even before it signed. For

these reasons, I find that the record supports the validity of the January 1, 2017 agreement.

               7.3    Breach of the Agreements

       Raffel further moves for summary judgment, arguing that it did not breach the

contract, either by failing to negotiate in good faith prior to filing the lawsuit or by breaching

the exclusivity provision. (Pl.’s Br. in Supp. of Partial Summ. Judg. at 25–27, Docket # 292-

1.)

               7.3.1 Dispute Resolution Clause

       Both Supplier Agreements contain the following Article 10.4:

       Any dispute arising from the performance of or in connection with this contract
       shall be settled through friendly negotiation between the parties. If the
                                            46



        Case 2:18-cv-01765-NJ Filed 11/05/21 Page 46 of 54 Document 361
       negotiation fails, the matter shall be submitted to the People’s Court of
       Huizhou Daya Bay Economic and Technological Development Zone for
       jurisdiction and settlement through litigation.

(Docket # 133-1 and Docket # 291-28.) Unsurprisingly, the parties dispute whether each

engaged in “friendly negotiations” before suit was filed. But even assuming Raffel did not,

the next step was to file suit in the People’s Court of Huizhou Daya Bay Economic and

Technological Development Zone. Raffel does not address Man Wah’s argument regarding

its failure to file suit in China. Nor could it. Raffel undoubtedly did file its complaint in this

court. It is entirely unclear, however, what damages Man Wah sustained by Raffel’s breach

of Article 10.4. Man Wah provides no evidence that had the parties negotiated, a favorable

settlement would have been reached. Nor does Man Wah’s expert witness, Thomas R.

Varner, explain what damages flow from this action being venued in the Eastern District of

Wisconsin as opposed to the People’s Court of Huizhou Daya Bay Economic and

Technological Development Zone. (Declaration of Thomas R. Varner ¶ 5, Ex. A, Docket #

329.) Without evidence of actual damages related to this breach, Man Wah’s breach of

contract counterclaim as to Article 10.4 cannot go forward. See, e.g., Matthews v. Wisconsin

Energy Corp. Inc., 534 F.3d 547, 557 (7th Cir. 2008) (“Even if the delay fell short of Wisconsin

Energy’s obligations, Matthews has not shown that this delay damaged her in any way, a

prerequisite to stating a claim for a breach of contract.”); Cent. Brown Cty. Water Auth. v.

Consoer, Townsend, Envirodyne, No. 09-C-0131, 2013 WL 501419, at *7 (E.D. Wis. Feb. 11,

2013) (stating that a plaintiff must have possible actual damages, as opposed to nominal

damages, to go to trial on a breach of contract claim). As such, summary judgment is granted

to Raffel as to this claim.

                                               47



        Case 2:18-cv-01765-NJ Filed 11/05/21 Page 47 of 54 Document 361
               7.3.2 Exclusivity Clause

       Both Agreements also contain the following exclusivity clause:

       Exclusiveness for supplier. Without the prior written consent of Party A, Party
       B shall not sell or provide (or allow any other person or entity to sell or provide)
       the product hereunder to any third party (including but not limited to
       Changzhou Xieshou Smart Home Co., Ltd., KUKA HOME Group Co., Ltd.
       and their affiliated companies) that has or may have a business competition
       relationship with Party A.

(Docket # 133-1 and Docket # 291-28.) Man Wah contends that Raffel breached this

provision by selling its products to Man Wah’s competitors. (Defs.’ Br. in Opp. at 26–27.)

Man Wah cites to the testimony of its president, Guy Ray, that Raffel sold its products to

several of Man Wah’s competitors, including Southern Motion, Ashley Furniture, and

Synergy Home Furnishing. (Defs.’ Additional PFOF ¶ 32.) Raffel disputes this testimony,

arguing that the supplier agreements list several specific competitors, none of which Raffel is

alleged to have sold products to, and that Ray does not specify when the sales were made.

(Pl.’s Resp. to Defs.’ Additional PFOF ¶ 32.) Raffel further argues that there is no evidence

that Xiamen Raffel sold the specific products referenced in Article 2.4. (Id.)

       As an initial matter, Article 2.4 clearly does not limit the competitors to those listed in

the contract, as indicated by the language “including, but not limited to, . . . .” (Docket # 133-

1 and Docket # 291-28.) Furthermore, Man Wah has presented evidence in the form of

Raffel’s sales data showing sales to Southern Motion in 2016 and 2017 (Bakewell Decl. ¶ 18,

Ex. Q, Docket # 325-17 at 31) to Ashley Furniture in 2017 (id. at 60), and to Synergy Home

Furnishings in 2016 (id. at 83). Man Wah provided evidence in the form of its damages expert

regarding its alleged damages from Raffel’s alleged breach of Article 2.4. (Docket # 329.)

Thus, I find that Man Wah has presented sufficient evidence for a jury to decide whether
                                         48



        Case 2:18-cv-01765-NJ Filed 11/05/21 Page 48 of 54 Document 361
Raffel breached Article 2.4 and the damages sustained. Raffel’s motion for summary

judgment as to this breach of contract counterclaim is denied.

              7.4    Man Wah’s Motion to Conduct Limited Discovery

       Man Wah has also filed a motion for leave to conduct limited discovery regarding its

breach of contract defenses and counterclaims. (Docket # 316.) Specifically, Man Wah seeks

to depose former Xiamen Raffel employees Ben Song and Lucy Zheng regarding the

circumstances regarding their departures from Xiamen Raffel, and for Raffel to identify any

individuals remaining at Xiamen Raffel with discoverable knowledge regarding Man Wah’s

contract defense and counterclaims so that Man Wah can depose those individuals. (Docket

# 316-1.) Raffel opposes the motion (Docket # 347-1) and the parties spill much ink assigning

blame for Man Wah’s failure to depose Song and Zheng earlier.

       Regarding Man Wah’s breach of contract counterclaims and Tenth Affirmative

Defense, given my findings on summary judgment, I do not find it necessary to reopen

discovery on this issue. Man Wah argues that it wishes to depose Song and Zheng to explore,

for example, their first-hand knowledge of the relationship between Xiamen Raffel and Man

Wah China, including the negotiation of the 2016 and 2017 Supplier Agreements, the

contractual terms therein, and whether and why certain terms or paragraphs were/were not

included in either agreement. (Defs.’ Br. in Supp. at 15, Docket # 316-1.) But finding that

Raffel was bound to the agreement, the 2017 agreement was valid, and that Raffel breached

Article 10.4 (albeit with no damages), it is unclear what further information these two

witnesses would shed on the remaining breach of contract action as to Article 2.4. Man Wah



                                             49



        Case 2:18-cv-01765-NJ Filed 11/05/21 Page 49 of 54 Document 361
has testimony regarding who its competitors are and Raffel’s sales, as well as its damages

expert. No further discovery is necessary.

       Finally, while Man Wah asserts that Song has information related to its

express/implied license and acquiescence defenses that Man Wah is “entitled to explore via

one or more witness having comparable knowledge,” (id. at 15), Man Wah does not articulate

why this particular witness is necessary to further litigate these specific affirmative defenses,

much less at this late hour in the case—after summary judgment briefing is complete. For

these reasons, Man Wah’s motion to conduct limited discovery is denied.

       8.     Raffel’s Motion for Sanctions

       Finally, Raffel submits a 43-page brief detailing Man Wah’s alleged infractions

committed during the course of this litigation. (Docket # 280.) Raffel principally accuses Man

Wah of willfully destroying critical evidence (in the form of samples of Man Wah’s allegedly

infringing cup holders) and engaging in vexatious litigation tactics, including making material

misrepresentations to the Court and to Raffel.

       The crux of Raffel’s sanctions motion regards the inspection by Man Wah’s expert of

allegedly infringing cup holders identified by Raffel’s expert. Raffel argues that Man Wah

requested the cup holders identified in its expert’s report so that Man Wah’s expert could

inspect them. (Id. at 5.) Raffel contends that Man Wah’s expert, Steven Ricca, intentionally

destroyed the cup holders by completely taking them apart and either removing, losing, or

breaking several components. (Id. at 2–19.) Raffel argues that these samples were the only

physical examples Raffel had of Man Wah’s allegedly infringing cup holders; thus, they were

critical pieces of evidence that substantiate Man Wah’s alleged infringement. (Id. at 4–5.)

                                               50



        Case 2:18-cv-01765-NJ Filed 11/05/21 Page 50 of 54 Document 361
Having the physical cup holders, however, was not critical for resolving the infringement

claims, which I was able to do through photographs and testimony. Thus, even assuming,

arguendo, that Ricca did intentionally destroy the cup holder when he was examining it, the

lack of the physical cup holder did not impact resolution of the claims.

       Raffel also accuses Man Wah of lying to the Court, specifically, by refusing to

acknowledge that its products were defective. (Id. at 19–27.) Whether Man Wah’s cup holders

were indeed defective was not a matter before this Court to resolve; thus, it is unclear to me

how it impacts the claims in this case.

       Raffel also faults Man Wah for “vehemently” objecting to use of the terms “knockoff”

or “counterfeit” when Man Wah had internal documents referring to the non-Raffel

cupholders as counterfeit. (Id. at 27.) But of course Man Wah would object to either opposing

counsel or the Court utilizing those terms—whether Man Wah’s cup holders infringed

Raffel’s patents is the very issue the Court was tasked with deciding. Finally, Raffel accuses

Man Wah of obstructing depositions, failing to meet and confer in good faith, concealing

sales, and concealing copying of Raffel’s silver cup holders. (Id. at 28–33.) But Raffel already

raised these issues with Judge Jones, Ret., acting as Special Master in this case. (Id.)

       Clearly there is no love lost between the parties after years of litigating this case. But

Raffel’s sanctions request is unreasonable. It seeks to have judgment entered in its favor on

all claims, and an award of attorney’s fees. (Id. at 41.) Even if Man Wah did spoliate critical

evidence, that would not warrant judgment in Raffel’s favor as to claims completely separate

from the infringement issues, such as both parties’ breach of contract claims. Raffel’s motion

for sanctions is denied.

                                               51



        Case 2:18-cv-01765-NJ Filed 11/05/21 Page 51 of 54 Document 361
                                      CONCLUSION

       As stated above, Raffel brings fifteen causes of action against Man Wah, and Man Wah

responds with twenty-eight counterclaims of its own. After thoroughly considering the

parties’ arguments and the record evidence, the following claims are resolved:

   x    Infringement of the ‘252 Patent (Raffel’s Second Claim, Man Wah’s Nineth

        Counterclaim). The Court finds in favor of Man Wah.

   x    Trade Dress Dilution (Raffel’s Fifth Claim). The Court finds in favor of Man Wah.

   x    Infringement of the ‘505 Patent (Raffel’s Tenth Claim, Man Wah’s Third

        Counterclaim). The Court finds in favor of Man Wah.

   x    Infringement of the ‘882 Patent (Raffel’s Eleventh Claim, Man Wah’s Fifth

        Counterclaim). The Court finds in favor of Man Wah.

   x    Infringement of the ‘968 Patent (Raffel’s Twelfth Claim, Man Wah’s Seventh

        Counterclaim). The Court finds in favor of Man Wah.

   x    Infringement of the ‘603 Patent (Raffel’s Sixth Claim, Man Wah’s Twelfth

        Counterclaim). The Court finds in favor of Man Wah.

   x    Infringement of the ‘293 Patent (Raffel’s Nineth Claim, Man Wah’s Second

        counterclaim). Summary judgment is granted in Raffel’s favor as to claims 1 and 6 of

        the ‘293 Patent.

   x    Infringement and Invalidity of the ‘986 Patent (Raffel’s Eleventh Claim, Man Wah’s

        Twenty-First Twenty-Seventh Counterclaim). Claims mooted by decision of PTAB.

   x    Man Wah’s counterclaims for declaratory judgment (Counterclaims 15-20). The Court

        finds in favor of Man Wah.
                                             52



         Case 2:18-cv-01765-NJ Filed 11/05/21 Page 52 of 54 Document 361
The balance of the parties’ claims remains for trial. The deputy clerk will contact the parties

to set a status conference regarding scheduling the remaining matters for trial.

                                           ORDER

        NOW, THEREFORE, IT IS ORDERED that Plaintiff’s Motion for Partial Summary

Judgment (Docket # 289) is GRANTED IN PART AND DENIED IN PART.

        IT IS FURTHER ORDERED that Defendants’ Motion for Summary Judgment

(Docket # 295) is GRANTED IN PART AND DENIED IN PART.

        IT IS FURTHER ORDERED that Plaintiff’s Motion for Partial Judgment on the

Pleadings (Docket # 287) is DENIED.

        IT IS FURTHER ORDERED that Plaintiff’s Motion to Strike (Docket # 338) is

DENIED AS MOOT.

        IT IS FURTHER ORDERED that Defendants’ Motion to Conduct Limited

Discovery (Docket # 316) is DENIED.

        IT IS FURTHER ORDERED that Defendants’ Motion to Exclude the Expert

Opinions of Richard Conroy (Docket # 297) is DENIED AS MOOT.

        IT IS FURTHER ORDERED that Plaintiff’s Motion for Sanctions (Docket # 279) is

DENIED.

        FINALLY, IT IS ORDERED that the following motions to seal are GRANTED:

(Docket Nos. 288, 294, 296, 301, 308, 311, 315, 318, 323, 331, 335, 339, 346, 349, 352, and

354).




                                              53



        Case 2:18-cv-01765-NJ Filed 11/05/21 Page 53 of 54 Document 361
Dated at Milwaukee, Wisconsin this 5th day of November, 2021.


                                               BY THE COURT
                                                      COURT:
                                                          T:



                                               ____________
                                               ___________
                                                         ____              ___
                                               NANCY JOSEP
                                                        JOSEPH
                                                             EPH
                                                             EP
                                               United States Magistrate Judge




                                          54



       Case 2:18-cv-01765-NJ Filed 11/05/21 Page 54 of 54 Document 361
